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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 1:21-cev-21079-BB

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
Vv.

MINTBROKER INTERNATIONAL, LTD.,
f/k/a SWISS AMERICA SECURITIES LTD.
and d/b/a SURETRADER, and

GUY GENTILE, a/k/a GUY GENTILE NIGRO,

Defendants.

AFFIDAVIT OF MICHAEL C. MILLER

1. My name is MICHAEL C. MILLER. I am 52 years old.

Ze I am currently a Principal at Kensington Chambers and have been admitted to
practice law in The Bahamas since 1995.

a My legal practice focuses on corporate law.

4. In light of my training and experience, I am familiar with various provisions of the
laws of The Bahamas governing data protection and privacy.

S. I have been given the authority to make an affidavit on behalf of Guy Gentile with
regard to certain laws in The Bahamas regarding the confidentiality and secrecy of company
information.

6. I am of the opinion that under the Data Protection (Privacy of Personal Information)
Act, 2003 (the “DPA”), a person who obtains access to personal data, or obtains any information
constituting such data, without the prior authority of the data controller (the person who determines

the purposes for which and the manner in which any personal data are, or are to be, processed) and
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discloses the data or information to another person, shall be guilty of an offence. In the
circumstances, the disclosure of information to the SEC in the absence of a court order, was in
breach of the aforesaid legislation.

7. The contents of this Affidavit are true to the best of my knowledge, information,

and belief.

SWORN TO at Nassau, Bahamas =}
this _2°° day of June A.D., 2022. }

MICHAEL C. MILLER

Before me,

jee — ©

NOTARY PUBLIC
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CHAPTER 324A
DATA PROTECTION

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CHAPTER 324A
DATA PROTECTION

An Act to protect the privacy of individuals in relation 3 of 2003
to personal data and to regulate the collection,
processing, keeping, use and disclosure of certain
information relating to individuals and to provide for
matters incidental thereto or connected therewith.

[Assent 11th April, 2003]
[Commencement 2nd April, 2007] sx 25/2007.

PART I
PRELIMINARY

1. This Act may be cited as the Data Protection short title.
(Privacy of Personal Information) Act.

2. (1) In this Act — Interpretation.
“back-up data” means data kept only for the purpose

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of replacing other data in the event of their

being altered, lost, destroyed or damaged;

“the Commissioner’ means the Data Protection
Commissioner established under section 14;

“company” has the meaning assigned to it by the
Companies Act or an International Business ©». 308.
Company under the International Business cn. 309.
Companies Act;

“the Court” means the Supreme Court or a judge
thereof;

“data” means information in a form in which it can
be processed;

“data controller” means a person who, either alone or
with others, determines the purposes for which
and the manner in which any personal data are,
or are to be, processed;

“data equipment” means equipment for processing
data;

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prepare a report in relation to his activities under this Act
in the preceding year and cause copies of the report to be
laid before each House of Parliament.

(2) Notwithstanding subsection (1), if, but for this
subsection, the first report under that subsection would
relate to a period of less than six months, the report shall
relate to that period and to the year immediately following
that period and shall be prepared as soon as may be after
the end of that year.

PART IV
MISCELLANEOUS

22. (1) Personal data processed by a data processor Unauthorised
shall not be disclosed by him, or by an employee or agent  ‘isclosure by
of his, without the prior authority of the data controller on 9" ?"°°°5S°"
behalf of whom the data are processed.

(2) A person who knowingly — contravenes
subsection (1) shall be guilty of an offence.

23. (1) A person who — Disclosure of

(a) obtains access to personal data, or obtains any oe
information constituting such data, without the authority.
prior authority of the data controller or data

processor by whom the data are kept; and

(b) discloses the data or information to another
person, shall be guilty of an offence.

(2) Subsection (1) shall not apply to a person who is
an employee or agent of the data controller or data
processor concerned.

24. (1) An appeal may be made to and heard and appeals to Court.
determined by the Court against —

(a) arequirement specified in an enforcement notice
or an information notice;

(b) a prohibition specified in a prohibition notice; or
(c) a decision of the Commissioner in relation to a
complaint under subsection (1) of section 15,

and such an appeal shall be brought within twenty-one
days from the service on the person concerned of the
relevant notice or, as the case may be, the receipt by such
person of the notification of the relevant refusal or
decision.

(2) Where —

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